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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                § CRIMINAL NO. 1:20CR79 (1)
                                                   §
 JONATHAN LIMBRICK (1)                             §

                              ELEMENTS OF THE OFFENSE

          You are charged in Count One of the Indictment with a violation of Title 21 U.S.C.

 § 846, Conspiracy to Possess with Intent to Distribute a Mixture or Substance Containing

 a Detectable Amount of a Schedule II Controlled Substance, Namely Methamphetamine.

          For you to find the defendant guilty of this crime, you must be convinced that the

 government has proved each of the following beyond a reasonable doubt:

 First:         That two or more persons, directly or indirectly, reached an agreement to
                possess with intent to distribute a mixture or substance containing a
                detectable amount of a Schedule II controlled substance, namely
                methamphetamine;

 Second:        That the defendant knew the unlawful purpose of the agreement;

 Third:         That the defendant joined in the agreement willfully, that is, with the intent
                to further it’s unlawful purpose;




                                            Respectfully submitted,

                                            NICHOLAS J. GANJEI
                                            ACTING UNITED STATES ATTORNEY

                                            /s/ Russell E. James

                                            Russell E. James
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                                 CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the foregoing document was
       delivered to Brian Roberts, counsel of record, via electronic filing on March 18,
       2021.

                                         /s/Russell E. James
                                         Russell E. James
                                         Assistant United States Attorney
